9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 1 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 2 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 3 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 4 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 5 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 6 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 7 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 8 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 9 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 10 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 11 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 12 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 13 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 14 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 15 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 16 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 17 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 18 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 19 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 20 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 21 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 22 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 23 of 24
9:13-cv-01317-SB   Date Filed 05/15/13   Entry Number 1-1   Page 24 of 24
